      Case 1:25-cv-02689-ENV-TAM                    Document 5           Filed 05/14/25     Page 1 of 2 PageID #: 30

 AO 440 (Rev. 12/09) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District
                                                 __________ Districtofof
                                                                       New  York
                                                                         __________


ANNMARIE MATERA,                                                 )
                                                                 )
                              Plaintiff
                                                                 )
                 v.                                              )        Civil Action No. 1:25-cv-02689
ANDREW SCOT REALTY, LLC AND OLD                                  )
WORLD RESTAURANT GROUP LLC,                                      )
                             Defendant
                                                                 )


                                                 SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address)




           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


 Date:    05/14/2025
                                                                                       Signature of Clerk or Deputy Clerk
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                                                                      Civil Action No. 25-CV-2689

                                    RIDER TO SUMMONS
 The following are the names and service addresses of the defendants for the Summons.

                    ANDREW SCOT REALTY, LLC
                    4029 HYLAN BLVD.
                    STATEN ISLAND, NY, UNITED STATES, 10308



                    OLD WORLD RESTAURANT GROUP LLC
                    4029 HYLAN BLVD.
                    STATEN ISLAND, NY, UNITED STATES, 10308
